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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: Dawn Elizabeth Weimar dba Wolf
Hauling LLC                                                                          Chapter 13
                            Debtor

Nationstar Mortgage LLC d/b/a Mr. Cooper
                              Movant                                            NO. 20-13637 MDC
               vs.

Dawn Elizabeth Weimar dba Wolf Hauling LLC
                            Debtor                                             11 U.S.C. Section 362

and Kenneth E. West Esq.
                                    Trustee


                                                         ORDER
         AND NOW, this 10th day of              April        2023 upon the filing of a Certification of Default by the
Moving Party in accordance with the Stipulation of the parties approved on March 31, 2021, it is ORDERED
AND DECREED that:
         The Automatic Stay of all proceedings, as provided under Section 362 of the Bankruptcy Abuse
Prevention and Consumer Protection Act of 2005 (The Code), 11 U.S.C. Section 362 and the Co-Debtor Stay
under Section 1301 of the Bankruptcy Code (if applicable), is modified with respect to the subject premises located
at 724 Wood Street, Bristol, PA 19007 (“Property), so as to allow Movant, and its successors or assignees, to
proceed with its rights and remedies under the terms of the subject Mortgage and pursue its in rem State Court
remedies including, but not limited to, taking the Property to Sheriff’s Sale, in addition to potentially pursuing
other loss mitigation alternatives including, but not limited to, a loan modification, short sale or deed-in-lieu of
foreclosure. Additionally, any purchaser of the Property at Sheriff's Sale (or purchaser's assignee) may take any
legal action for enforcement of its right to possession of the Property.
         The stay provided by Bankruptcy Rule 4001(a)(3) has been waived.




                                                                Magdeline D. Coleman
                                                                Chief U.S. Bankruptcy Judge
